 CRIMINAL CASE COVER SHEET                                              U.S. ATTORNEY'S OFFICE


 Defendant Name:      Brandon Isaiah Otey                                                       (f\-5~
 Place of Offense (City & County): _S_u_l_liv_a_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _                  p_L~R. . . .,_
                                                                                                            .
 Juvenile: Yes              No    x         Matter to be Sealed: Yes      No       x

 Interpreter: N o_x_ Yes                   Language:

 Total# of Counts: _ _ Petty _ _ Misdemeanor (Class __ )                       3       Felony


                                             ORIGINAL INDICTMENT                                                 Count(s)
                                 U.S.C. Citation(s) and Description of Offense Charged

               Possession of Schedule II with intent to distribute (21 U.S.C. § 841 (a)(l))                I
               Possession of a firearm in furtherance of drug trafficking (18 U.S.C. § 924(c))             I
               Possession of a firearm by a prohibited person (18 U.S.C. § 922(g)(3)                       I

 Current Trial Date (if set): _ _ _ _ _ _ _ _ __                   before Judge

 Criminal Complaint Filed: No _x_          Yes          Case No. - - - - - - - - - - - - - -

 Defendant on Supervised Release: Yes__             No _x_

 Violation Warrant Issued? No_ _ Yes                Case No.
 Related Case(s):


 Case Number              Defendant's attorney      How related


 Case Number              Defendant's attorney      How related

 Criminal Informations:
 Pending criminal case:                             __
                                                     Case No.

 New Separate Case                               Supersedes Pending Case _ _ _ __

 Name of defendant's attorney:

 Retained:                            Appointed:


 Date:                                           Signature of AUSA: _ _~s~/~,o/A;=~==~~=~~~-------
                                                                       THOMAS MCTAULEr




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